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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA


Matthew Green, Andrew Huang, and              )
Alphamax, LLC,                                )     Civil Case No. 16-cv-01492-EGS
                                              )
               Plaintiff,                     )
                                              )     MEMORANDUM OF POINTS AND
       v.                                     )     AUTHORITIES IN SUPPORT OF
                                              )     PLAINTIFFS’ MOTION FOR
U.S. Department Of Justice, William Barr,     )     PRELIMINARY INJUNCTION
                                              )     PURSUANT TO FED. R. CIV. P. 65(a)
Library Of Congress, Carla Hayden,            )
U.S. Copyright Office, and                    )     Judge: Emmet G. Sullivan
Karyn A. Temple,                              )
                                              )
               Defendants.                    )
                                              )
                                              )




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                                       INTRODUCTION

       Plaintiffs have stated a viable claim that Section 1201 of the Digital Millennium

Copyright Act (“DMCA”), 17 U.S.C. § 1201(a) violates the First Amendment as applied to their

intended conduct. Order on Mot. To Dismiss (ECF No. 25) (“MTD Order”). Plaintiffs look

forward to proving up their claims as this litigation proceeds. In the meantime, however, the risk

of criminal liability under Section 1201 has stymied Plaintiffs’ ability to engage in protected

research, development, and publication. Accordingly, Plaintiffs ask the Court to preliminarily

enjoin the Government from enforcing Section 1201’s anti-circumvention and anti-trafficking

provisions against them.

       Plaintiff Matthew Green seeks to publish a book on computer security research that

would teach readers—using instructions written in English and in software languages—how to

circumvent technological protections in order to discover and fix security flaws in computer

systems. Plaintiffs Andrew “bunnie” Huang and Alphamax, LLC (“Alphamax”) seek to research,

develop, use, and publish software and hardware for transforming and manipulating videos that

requires them to work around a video content protection measure called HDCP. This Court has

held that these activities are protected by the First Amendment and impeded by Section 1201,

which broadly prohibits anyone from “circumventing” measures used to control access to

copyrighted works, 17 U.S.C. § 1201(a)(1), or “trafficking” in “technology” that can be used to

circumvent those access controls, 17 U.S.C. § 1201(a)(2).

       In light of this Court’s prior ruling and the facts set out in the accompanying declarations,

Plaintiffs are likely to succeed on the merits of their claim that the threat of enforcement of

Section 1201 is interfering with their protected First Amendment rights to access and analyze

information, to publish scholarly and creative writings and videos, and to publish instructions for


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circumvention, including software instructions. Such interference “unquestionably constitutes

irreparable injury” justifying an injunction. Elrod v. Burns, 427 U.S. 347, 373 (1976). Further,

the harms inflicted on Plaintiffs by allowing the threat of prosecution to block them from

speaking outweigh any harm that the government might suffer if it were enjoined from enforcing

the law against Plaintiffs. Finally, continuing to hold Section 1201 over Plaintiffs’ heads is

contrary to the public’s interest in receiving the benefits of Dr. Green, Dr. Huang, and

Alphamax’s important work and in ensuring that individuals like them are free to engage in

constitutionally protected activity.

                      FACTUAL AND PROCEDURAL BACKGROUND

       A.      Section 1201 Curtails Plaintiffs’ Research, Communications, and
               Commercialization Efforts

       In this case, Plaintiffs challenge two distinct but related provisions of the Section 1201 of

the DMCA: (1) 17 U.S.C. § 1201(a)(1),1 which prohibits “circumvent[ing] a technological

measure that effectively controls access to a work protected [by copyright];” and Section

1201(a)(2), which prohibits “manufactur[ing], import[ing], offer[ing] to the public, provid[ing],

or otherwise traffic[king] in any technology, product, service, device, component, or part thereof,

that … is primarily designed or produced for the purpose of circumventing a technological

measure that effectively controls access to a work protected under this title” or “is marketed …

for use in circumventing.” 17 U.S.C. § 1201(a)(2)(A), (C).2



   1
     The anti-circumvention provision provides in full: “No person shall circumvent a
technological measure that effectively controls access to a work protected under this title.” 17
U.S.C. § 1201(a)(1)(A).
   2
       The anti-trafficking rule provides in full: “No person shall manufacture, import, offer to the
public, provide, or otherwise traffic in any technology, product, service, device, component, or
part thereof, that—

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       Violation of either the anti-circumvention or anti-trafficking provision gives rise to a

private right of action. 17 U.S.C. § 1203. Moreover, if there is a commercial purpose, a violation

of either provision is criminally punishable by up to $500,000 in fines and imprisonment up to

five years. 17 U.S.C. § 1204(a). Both prohibitions threaten legitimate commercial applications,

security research, and other fair uses that rely on bypassing security measures in order to gain

access to copyrighted video streams or computer code.

       B.      Section 1201’s Triennial Rulemaking Process

       When Congress enacted Section 1201, it recognized that the statute’s remarkable breadth

could adversely impact a range of legitimate and socially beneficial activity. But, rather than

narrowing the law to address that problem, Congress included an unusual provision directing the

Librarian of Congress to conduct a rulemaking process every three years to determine “whether

persons who are users of a copyrighted work are, or are likely to be in the succeeding 3-year

period, adversely affected by the prohibition [on circumvention] in their ability to make

noninfringing uses under this title of a particular class of copyrighted works.” 17 U.S.C.

§ 1201(a)(1)(C)(B). The statute then instructs the Librarian to


       publish any class of copyrighted works for which the Librarian has determined .
       . . that noninfringing uses by persons who are users of a copyrighted work are,
       or are likely to be, adversely affected, and the prohibition contained in
       subparagraph (A) shall not apply to such users with respect to such class of
       works for the ensuing 3-year period.


   (A) is primarily designed or produced for the purpose of circumventing a technological
measure that effectively controls access to a work protected under this title;
    (B) has only limited commercially significant purpose or use other than to circumvent a
technological measure that effectively controls access to a work protected under this title; or
   (C) is marketed by that person or another acting in concert with that person with that person’s
knowledge for use in circumventing a technological measure that effectively controls access to a
work protected under this title.” 17 U.S.C. § 1201(a)(2).

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Id. § 1201(a)(1)(D).3

       Exemptions from the anti-circumvention provisions lapse every three years and must be

requested again in order to be renewed.4 Renewal is not guaranteed. Willen Decl., Ex. 4 (2018

Recommendation) at 18. In fact, Defendants Library of Congress, Carla Hayden, U.S. Copyright

Office, and Karyn A. Temple (collectively “Rulemaking Defendants”) have failed in the past to

renew several previously granted exemptions, including an exemption to allow mobile phone

owners to change carriers. Willen Decl., Ex. 1 (“Exemption to Prohibition on Circumvention of

Copyright Protection Systems for Access Control Technologies,” 77 Fed. Reg. 65,260; 65,264-

66 (Oct. 26, 2012) (“2012 Final Rule”)). The public therefore cannot rely on the continued

existence of an exemption to protect its activities beyond the initial three-year period.

       Nonetheless, every three years, thousands of members of the public approach the

Copyright Office to explain how the ban on circumvention interferes with their noninfringing

speech, and to seek (or support) exemptions from the ban. In the most recent rulemaking, the

requested exemptions included:




   3
      This exemption process applies only to the circumvention ban. The Librarian of Congress
has no authority to create any exemptions from the ban on trafficking.
   4
      In the 2018 Rulemaking, the Librarian introduced for the first time a “Streamlined Renewal
Process” for exemptions granted during the 2015 Rulemaking. Declaration of Brian M. Willen
(dated September 19, 2019) (“Willen Decl.”), Ex. 4 (U.S. Copyright Office, “Section 1201
Rulemaking: Seventh Triennial Proceeding to Determine Exemptions to the Prohibition on
Circumvention, Recommendation of the Acting Register of Copyrights” (“2018
Recommendation”)) at 17-19. That process is “based upon a determination that, due to a lack of
legal, marketplace, or technological changes, the factors that led the Register to recommend
adoption of the exemption in the prior rulemaking are expected to continue into the forthcoming
triennial period.” Id. at 18. However, “the fact that the Librarian previously adopted an
exemption creates no presumption that readoption is appropriate.” Id. Similarly, “[p]etitions
seeking to expand upon a current exemption to include [new] activities” are not eligible for the
Streamlined Process. Id. at 19.

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           Documentary and narrative films. See Willen Decl., Ex. 4 (2018 Recommendation) at
            38, 55-61.

           Gameplay “remixed” with audio and visual commentary. Id. at 128, 140-41.

           Short videos that “remix” content from other videos into a new work. Id. at 30.

           Repair of motorized land vehicles, including farm equipment. Id. at 25-26, 184-230.

           Multimedia ebooks discussing movies. Id. at 29, 62-66.

           Educational uses to teach media criticism and analysis. Id. at 27-28, 31-89.

           Security research. Id. at 26, 283-314.

           Conversion of media to accessible formats for the visually impaired. Id. at 22-23, 89-
            111.

           Restoration of lawfully acquired online video games where such games are no longer
            supported by the maker. Id. at 27, 255-83.

           Educational uses by museums, libraries, and nonprofits. Id. at 29, 31-89.

           “Format shifting” (converting lawfully-acquired media from one format to another).
            Id. at 7-8, 111-28.

           “Space shifting” (moving lawfully-acquired media from one device to another). Id.

        In each case, the applicants elaborated on the scope and nature of the noninfringing

speech that was burdened by Section 1201. To take just a few examples: The Joint Filmmakers

pointed to non-documentary (or “narrative”) films that rely upon fair use of clips from

copyrighted works encumbered by access controls, and offered numerous accounts of

filmmakers who censored themselves;5 the Association of Transcribers and Speech-to-Text

Providers showed that in the United States over 77,000 students with hearing disabilities and

60,000 students who are blind are impaired by technological protection measures in their ability



   5
       Willen Decl., Ex. 5 (Comment of the Joint Filmmakers in 2018 Rulemaking) at 15-21, 27.

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to access audiovisual educational materials;6 and computer security researchers described how

the anti-circumvention rule prevents them from pursuing “critical” vulnerability research on

certain types of devices, including traffic control systems and drones.7

       C.      Dr. Matthew Green

                   1. To Perform His Important Security Research, Dr. Green Must Be Able
                      to Circumvent Access Controls on the Works He Studies

       Dr. Green is a professor at the Johns Hopkins Information Security Institute where he

researches the security of computer systems. Declaration of Matthew Green, dated September

18, 2019 (“Green Decl.”) ¶ 1.8 His research aims to expose security flaws in computer systems

so that they can be made more secure. Id. ¶ 2. Many computer systems used today have serious

vulnerabilities. Id. ¶ 3. Wrongdoers commonly identify these vulnerabilities and then exploit

them for their own malicious purposes—to defraud, to steal someone’s identity, to stalk, or to

invade people’s privacy. Id. Independent security researchers, like Dr. Green, identify those

vulnerabilities so they may be fixed. Id. To analyze the security of a given technology, Dr. Green

or a member of his team will first purchase a copy of the system they wish to test. Id. ¶ 6. This

might be software, or a device, or a set of devices. Id. Dr. Green then seeks to understand how

the system works, and where it might be vulnerable. Id. ¶ 7.

       To do this important work, Dr. Green must access the copyrighted code in those

systems—which sometimes requires him to circumvent technical protections. A rigorous and
   6
     Willen Decl., Ex. 6 (Comment of Association of Transcribers and Speech-to-Text Providers
in 2018 Rulemaking) at 14.
   7
    Willen Decl., Ex. 7 (Comment of Prof. Ed Felten and Prof. J. Alex Halderman in 2018
Rulemaking) at 19-21.
   8
      Dr. Green’s sworn declaration is admissible on a motion for preliminary injunction. See,
e.g., FTC v. CCC Holdings Inc., No. CV 08-2043 (RMC), 2009 WL 10631282, at *1 (D.D.C.
Jan. 30, 2009) (holding that the Federal Rules of Evidence do not apply to preliminary injunction
hearings and that the Court may rely on the sworn declarations in the record).

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effective audit of a computer system’s security requires that Dr. Green analyze the software

controlling the system. Id. ¶ 8. Often, secure computer systems prevent access to their software

code through TPMs such as encryption, username/password combinations, or physical memory

restrictions preventing a user from accessing certain stored information. Id. ¶ 9. An adversary

seeking to extract information about the software code or about the system’s user, or to install

their own malicious software, would seek to bypass these measures in order to maximize their

ability to locate and exploit vulnerabilities. Id. To identify security flaws, Dr. Green must do the

same; indeed, finding and reporting on the vulnerability of these access controls is a critical part

of auditing the security of the system. Id.

       Thus, if he does not bypass access controls in a computer system, Dr. Green’s research is

significantly limited. Id. ¶ 10. While he may be able to discover some vulnerabilities, he cannot

determine with confidence whether devices are secure against an adversary willing to circumvent

access controls. Id. Often, they are not. Id.

       So Dr. Green faces an impossible dilemma. While these academic pursuits would

traditionally be understood to be fully protected by the fair use doctrine and the First

Amendment, he still faces criminal and civil penalties under Section 1201(a).

                   2. For His Research to Be Effective, Dr. Green Must Be Able to Discuss
                      How to Circumvent Access Controls and Publish His Results

       When Dr. Green locates security vulnerabilities, he discusses them with his research team

and, where possible, with the company responsible for fixing them, in sufficient detail for them

to understand and confirm the vulnerability. Id. ¶ 11-12. He may also reach out to people

affected by the vulnerability, particularly if malicious actors may already be exploiting it. Id. ¶¶

13-17. For instance, when Dr. Green discovered a significant vulnerability in the Secure Sockets



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Layer (SSL)—a cryptographic protocol that is widely used to protect sensitive information

online—he contacted the Federal Bureau of Investigation (FBI), so that it could avoid using

those systems until they were secured. Id. ¶ 17.

       Dr. Green also discusses his work with peers, device manufacturers, students, and the

general public. Id. ¶¶ 11, 12. He and other security researchers communicate not only through

verbal descriptions of where vulnerabilities lie and how they may be exploited, but also via

computer code languages that communicate the ideas being discussed with greater clarity and

less ambiguity than the English language. Id. ¶ 12. Sharing the code also helps others verify the

accuracy of instructions embodied in code, since it is possible to instruct a computer to follow

the instructions in the code and see whether it reveals the vulnerability. Id.

       To these same ends, Dr. Green is currently writing an academic book on computer system

security research. He seeks to instruct readers in the methods of security research, including how

to identify vulnerabilities in computer systems. Id. ¶ 20. He would like to include in the book

examples of code capable of bypassing security measures. Id. ¶¶ 20-23. Dr. Green wishes to

publish this information for several important reasons.

       First, like any scientific research, Dr. Green’s findings are credible only to the extent that

other scientists can replicate them. Id. ¶ 21. So his book must show fellow computer scientists

how to repeat the steps he took and circumvent the same security measures.

       Second, like any scholar, Dr. Green hopes that others will build upon his work. Id. ¶ 22.

When he finds a security flaw in a TPM or in its underlying software code, he knows that others

might be able to find additional security flaws that he might have missed. Other scholars are less

likely to find additional flaws if they must first re-discover the same flaws that Dr. Green already




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found. So Dr. Green’s book must show others how to circumvent the measures that he already

circumvented.

        Third, as an advocate of computer security, Dr. Green hopes that the people who design

computer systems (both TPMs and their underlying software code) will use his book to learn

how to design better systems that do not contain the kinds of flaws that he discovered. Id. ¶ 23.

So, Dr. Green’s book must show these computer system designers how he circumvented security

measures. Id.

        Dr. Green would like to offer his book for sale via typical distribution channels, such as

bookstores and online retailers, and to receive royalties from its sale. Id. ¶ 24. He also wishes to

highlight the detailed information contained in the book about bypassing security measures in

order to market the book, since that will be part of what makes his book effective for teaching

how to engage in cutting-edge security research. Id. ¶ 25. As the law now stands, Section 1201

puts Dr. Green at risk of criminal and civil penalties for doing so. The possibility of criminal or

civil liability deters Dr. Green from sharing the results of his research, such as by publishing and

selling his book. Id. ¶ 34.

        D.      Dr. Andrew “bunnie” Huang and Alphamax, LLC

                1.      To Enable New Types of Noninfringing Video Transformations, Dr.
                        Huang and Alphamax Must Develop Tools that Circumvent
                        Technological Protection Measures to Access Encrypted Video Streams

        Dr. Huang is an electrical engineer and inventor who holds a Ph.D from the

Massachusetts Institute of Technology. He owns several small businesses, including Alphamax,

a Michigan corporation. Declaration of Andrew “bunnie” Huang, dated September 18, 2019

(“Huang Decl.”) ¶ 1. Part of Dr. Huang’s current research focuses on manipulating video

streams. That work enables socially valuable expression in areas such as education, news, and


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creativity by allowing people to blend, rescale, and transform videos. Several years ago, Dr.

Huang invented a hardware device known as the NeTV2. Id. ¶ 3. The NeTV2 lets users replace

pixels in a high definition digital video stream so that they can overlay an image or other graphic

on top of a video. The device’s full functionality and potential capabilities are severely limited,

however, by the decision not to read any of the content of video streams protected by

technological protection measures (“TPMs”). Id. ¶¶ 3, 4, 6-7, 9, 11-13, 17-25.

        Many high definition digital video streams are encrypted with a TPM called High-

bandwidth Digital Content Protection (“HDCP”). Id. ¶ 4-5. In 2001, a security researcher

announced that HDCP could be circumvented, but did not describe how, citing fear of

prosecution under the DMCA.9 Id. ¶ 5. Dr. Huang has the same credible fear, which is the sole

reason that he did not circumvent HDCP in the NeTV2 device. Id. ¶ 6. This, in turn, has

dramatically restricted NeTV2’s capabilities because it cannot access the pixels in high-

definition digital videos. Id. Without the ability to access those videos, users cannot save

transformative works, run software to interpret and modify the videos in question, or even

rescale images or create smooth overlays.10 Id. A device similar to NeTV2, but capable of

circumventing HDCP, could have all of those features. Id. ¶¶ 11-12.

        If not for the anti-circumvention and anti-trafficking provisions of Section 1201, Dr.

Huang and Alphamax would create such a device, which Dr. Huang calls the “NeTVCR.” Id. ¶

12. Plaintiffs would also publish software that could be used by others to create such devices and
   9
   The proof of concept was later borne out by the anonymous posting of a “master key” for
HDCP in 2010. Huang Decl. ¶ 5.c.
   10
      NeTV2 video overlays have sharp edges because NeTV2 can only add new pixels on top
of the original video—it cannot adjust pixels from the original video, which would allow for
smoother edges. Huang Decl. ¶¶ 6, 23. Similarly, NeTV2 cannot rescale video or create partially
transparent overlays, as these require manipulating the original video stream. Id. These features
are common and expected when creating professional, credible videos. Id.

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reprogram the computer in the NeTV2 to enable the same transformations. Id. ¶¶ 12, 16. This

software will be open source, meaning that it will be published in a “source code” format used to

communicate ideas among programmers, so that others will read and understand it and propose

new ideas to edit the code, as they have done for the NeTV2 source code. Id. NeTVCR would

dramatically expand users’ ability to create new, noninfringing speech. Id. ¶¶ 13-16. An

individual might use NeTVCR to create a short movie of herself playing a video game, alongside

commentary and remixes of other gamers’ videos. Id. ¶¶ 13, 19. Media organizations might

display news coverage of important events from multiple sources at the same time, bringing

different perspectives to their viewers. Id. ¶ 13. NeTVCR would also allow software developers

to train neural networks on portions of videos. Id. ¶ 23. The applications are broad and include

improved software for tasks such as object recognition. Id. However, Dr. Huang has been unable

to develop this technology because he needs to be able to circumvent HDCP in order to perfect

his understanding of how the signals are transmitted and encoded and to experiment and debug

in order to write the software instructions that will communicate how to achieve the desired

transformations. Id. ¶¶ 16-18, 23.

               2.     To Commercialize New Types of Noninfringing Video Transformations,
                      Dr. Huang and Alphamax Must Distribute Technology for
                      Circumventing HDCP

        Dr. Huang and Alphamax would like to expand the capabilities of NeTV2 by creating a

new device called NeTVCR, which will contain the software instructions for access to encrypted

high definition video streams. Id. ¶ 16. NeTVCR’s capabilities could also be provided to existing

NeTV2 owners by publishing a software update that includes NeTVCR functionality. Id. This

software will be open source, meaning that it will be published in a “source code” format used to




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communicate ideas among programmers, so that others will read and understand it and propose

new ideas to edit the code, as they have done for the NeTV2 source code. Id.

       NeTVCR, whether as a new device or an improved NeTV2, would expand the ability of

customers to make fair and/or noninfringing use of video streams subject to HDCP. Id. ¶ 12. Dr.

Huang and Alphamax would like to sell and distribute such a tool. Id. ¶ 25. In fact, Dr. Huang

and Alphamax started a crowdfunding campaign in June 2018, and it raised over $87,000 from

more than 200 customers who want to lawfully transform videos using the technology developed

by Dr. Huang. Id. ¶ 8. But the possibility of criminal or civil enforcement of Section 1201

deterred Dr. Huang from developing or commercially distributing NeTVCR with the capacity to

circumvent HDCP. Huang Decl. ¶ 11. The anti-circumvention and anti-trafficking measures of

Section 1201 thus prevented significantly improved functionality that would improve users’

ability to make noninfringing uses of legally modified HDCP video. Id.

       In addition to self-expressive uses of NeTVCR, described above, publishing the computer

instructions for bypassing HDCP controls will communicate information that allows other

developers to learn from and build off of Alphamax’s technology. Id. ¶ 16. And beyond creative

and cultural expression, NeTVCR has numerous applications that will improve peoples’ lives in

areas such as education, news, and safety. Id. ¶ 13. For example, if NeTVCR could access

encrypted video streams, developers could create a visual overlay that notifies homeowners

when a door has opened or alerts elderly people when they need to take their medicine. Id.

Educational technology will improve when people are able to create side-by-side comparisons of

rescaled videos. Id. Dr. Huang would himself benefit from NeTVCR’s noninfringing




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applications: He would like to use NeTVCR to learn a new language, by including

transliterations alongside videos. Id. ¶ 20.11

        E.     Dr. Huang’s Unsuccessful Efforts to Secure an Exemption From the
               Circumvention Ban

        Dr. Huang participated in the 2018 Rulemaking process, hoping to obtain an exemption

to cover non-infringing uses of his new invention, NeTVCR. As required, he explained that the

audiovisual device he wished to develop is otherwise lawful and noninfringing.12 The

Rulemaking Defendants recognized that some of Dr. Huang’s proposed uses “may potentially be

fair use.” See Willen Decl., Ex. 3 (“Exemption to Prohibition on Circumvention of Copyright

Protection Systems for Access Control Technologies,” 83 Fed. Reg. 54,010 (Oct. 26, 2018)

(“2018 Final Rule”)) at 54,027; Willen Decl., Ex. 4 (2018 Recommendation) at 132. They also

recognized the “possibility that there may not be reasonable alternatives to each and every use

listed by Huang.” Willen Decl., Ex. 4 (2018 Recommendation) at 140.

        Nonetheless, the Rulemaking Defendants denied the petition, concluding they needed a

“fuller description” of these potentially fair uses in order to craft a sufficiently “narrow and

focused” exemption. See Willen Decl., Ex. 4 (2018 Recommendation) at 132. The Rulemaking


   11
       If some of the potential expression enabled by NeTVCR seems mundane, that is because
Section 1201 is so broad that it prohibits ordinary, everyday expression that poses no threat of
infringement.
   12
     When deciding whether to grant an exemption, Section 1201(a)(1)(C) instructs the
Librarian of Congress to examine four specific factors as well as “such other factors as the
Librarian considers appropriate.” See 17 U.S.C. § 1201(a)(1)(C)(v). This catch-all provision
empowers the Librarian to deny exemptions based on all manner of issues that have nothing to
do with fair use or indeed with the ostensible purpose of the DMCA: to protect copyrighted
works. Indeed, the Librarian has imposed additional requirements on persons seeking
exemptions, such as imposing the burden of proof (specifically the burden of production) on the
party seeking an exemption. See Willen Decl., Ex. 4 (2018 Recommendation), at 12-13.
Applicants are also required to demonstrate the rule’s “actual” and “measurable” impact on
noninfringing uses. See id. at 16-17.

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Defendants did so even though the exemption that Dr. Huang sought would only apply to

circumvention for non-infringing uses. Any circumvention with a nexus to copyright

infringement would have remained punishable under Section 1201.

       Because his efforts to develop a new audiovisual device continue to be stymied by

Section 1201’s broad bans on circumvention and trafficking, Dr. Huang needs relief from this

Court to exercise his First Amendment rights. Complaint, ECF No. 1 (“Compl.”).

       F.      Dr. Green’s Temporary and Partial Exemption From the Circumvention
               Ban

       Unlike Dr. Huang and Alphamax, Dr. Green secured a limited exemption in the 2018

Rulemaking. The Final Rule allows him and others to conduct “good-faith security research,”

which it defines as “accessing a computer program solely for purposes of good-faith testing,

investigation, and/or correction of a security flaw or vulnerability, where such activity is carried

out in an environment designed to avoid any harm to individuals or the public, and where the

information derived from the activity is used primarily to promote the security or safety of the

class of devices or machines on which the computer program operates, or those who use such

devices or machines, and is not used or maintained in a manner that facilitates copyright

infringement.” 2018 Final Rule at 54,026.

       While this exemption will allow Dr. Green to circumvent TPMs in furtherance of his

research—and Dr. Green is therefore not seeking to preliminarily enjoin the Government’s

enforcement of Section 1201(a)(1) against him—it will last only two more years, until 2021, and

there is no guarantee that the exemption will be renewed. See id.; see also 17 U.S.C.

§ 1201(a)(1)(D). Dr. Green will therefore have to spend additional time and resources to attempt

to maintain his freedom to engage in this useful and constitutionally-protected conduct after the



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three-year term ends. In addition, the Rulemaking Process applies only to the anti-circumvention

rule; it does not allow exemptions to Section 1201’s separate ban on trafficking. See 17 U.S.C.

§ 1201(a)(1)(C). Section 1201 therefore continues to prohibit Dr. Green from publishing his

book and sharing with the public the valuable information that he has studied. He therefore asks

this Court to enjoin the Government from enforcing the anti-trafficking provision against him.

       G.      Procedural History

       Dr. Green first moved for a preliminary injunction on September 29, 2016, shortly after

Plaintiffs filed this lawsuit. See ECF No. 16. This Court stayed briefing and resolution of that

motion pending briefing and resolution of the Government’s concurrently filed motion to

dismiss. See Minute Order (September 30, 2016). On June 27, 2019, this Court issued an Order

granting in part and denying in part the Government’s motion. See Order on Mot. to Dismiss

(ECF No. 25) (“MTD Order”). While the Court dismissed Plaintiffs’ facial challenges to Section

1201 and Plaintiffs’ claim for violation of the Administrative Procedure Act, the Court held that

in light of Plaintiffs’ intended course of conduct, Plaintiffs had stated a claim that the application

of Section 1201 against them violated the First Amendment. In so holding, the Court recognized

that Plaintiffs had standing to assert their claims based on a credible threat of prosecution under

the statute. MTD Order at 15-21. In addition, the Court affirmed that “[c]ode is speech” and that

using code to circumvent TPMs, and sharing that code with others, are forms of expression

protected by the First Amendment. Id. at 27-28.

       The Court further held that Section 1201’s restrictions on Plaintiffs’ speech were subject

to intermediate scrutiny such that they must be narrowly tailored to promote the government’s

interest. Id. at 39, 46. Thus, to pass constitutional muster, the Government must show that it’s

application of Section 1201 against Plaintiffs furthers a substantial governmental interest that is


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unrelated to the suppression of free expression and that Section 1201 does not burden

substantially more speech than is necessary to further the government’s interest. Id. at 46.

       H.      Statement of Requested Relief

       All Plaintiffs respectfully request that the Court preliminarily enjoin the Government

from enforcing the criminal prohibitions on circumvention and trafficking and enjoin the

Rulemaking Defendants to grant exemptions that would allow Plaintiffs and others to engage in

conduct protected by the First Amendment. In addition to a broad injunction against any criminal

enforcement of the law and an exemption to permit any constitutionally protected activity, Dr.

Green specifically requests that this Court enter a preliminary injunction that enjoins the

Government, during the pendency of this case, from prosecuting him under Section 1201 for

publishing information about how to circumvent TPMs in an academic book. Likewise, Dr.

Huang and Alphamax specifically request that this Court enter a preliminary injunction

preventing the Government, during the pendency of this case, from prosecuting them under

Section 1201 for (1) circumventing HDCP for noninfringing purposes, including personal use to

analyze and modify videos, as well as researching and developing product features for software

and hardware that can modify high definition video streams; and (2) publishing software

instructions and selling a physical product enabling users to create new noninfringing video

content and make other noninfringing uses of videos subject to HDCP.

       In the alternative, Plaintiffs ask the Court to narrowly construe the operative provisions of

the statute, such that they do not apply to prohibit Plaintiffs from engaging in the lawful and

valuable conduct discussed above, and to enjoin Defendants from enforcing the statute in a

manner inconsistent with that construction. A narrower construction, protecting acts of

circumvention and trafficking in service of noninfringing uses, would be in keeping with the


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statute’s provision that “[n]othing in this section shall affect rights, remedies, limitations, or

defenses to copyright infringement, including fair use, under this title.” 17 U.S.C. § 1201(c)(1);

see Chamberlain Grp., Inc. v. Skylink Techs., Inc., 381 F.3d 1178, 1200-1203 (Fed. Cir. 2004)

(construing Section 1201(a) to require a nexus to copyright infringement). The Federal Circuit in

Chamberlain explained that “[a] provision that prohibited access without regard to the rest of the

Copyright Act would clearly affect rights and limitations, if not remedies and defenses” and that

it would be “absurd and disastrous” to conclude that Congress “enacted by implication a new,

highly protective alternative regime for copyrighted works; contradicting other provisions of the

same statute including § 1201(c)(1).” Id. at 1200-01.

       Specifically, Plaintiffs ask the Court to construe the definition of “circumvent” included

in Section 1201(a) such that a person may be considered to have the requisite “authority of the

copyright owner” when their use of the copyrighted work at issue is non-infringing and therefore

authorized by copyright law. In other words, the “authority of the copyright owner” element

would be satisfied whenever the copyright owner would have no right to withhold that authority.

                                         ARGUMENT

       Plaintiffs seek a preliminary injunction prohibiting the Government from enforcing

Section 1201 against them while the case proceeds, allowing them to access information and

engage in research and other important speech activities that are socially beneficial and

constitutionally protected. As set forth below, this preliminary relief is appropriate because

Plaintiffs are likely to succeed on the merits of their claims and will suffer irreparable harm in

the absence of preliminary relief; and both the balance of equities and the public interest favors

an injunction. Winter v. NRDC, Inc., 555 U.S. 7, 20 (2008).




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I.        PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS OF THEIR
          CLAIMS

          In light of this Court’s order denying in part the Government’s motion to dismiss—and

the evidence reflected in the declarations accompanying this motion—Plaintiffs are likely to

succeed on the merits of their as-applied First Amendment claims.

          In rejecting the Government’s motion to dismiss those claims, the Court made clear that

“[c]ode is speech” and that Section 1201 implicates Plaintiffs’ First Amendment rights by

restricting their ability to use code to further their academic and related commercial work. MTD

Order at 26-27 (holding the DMCA and its triennial rulemaking process burden the use and

dissemination of computer code, thereby implicating the First Amendment). More specifically,

Plaintiffs seek to use that code to circumvent TPMs on copyrighted materials for the purpose of

gathering information, engaging in valuable academic research, creating new information and

expression, building tools for speech, and publishing what they learn. Green Decl. ¶ 20; Huang

Decl. ¶¶ 13, 16. As this Court has already recognized, “the DMCA’s prohibition on

circumvention and trafficking appears to burden the[ir] accessing, sharing, publishing, and

receiving of information,” including “both the code that does the circumventing and the TPM-

protected material to which the circumventing code enables access.” MTD Order at 28.

          Finding that Section 1201 triggers intermediate scrutiny (MTD Order at 39), the Court

explained that the Government must show that Section 1201 does not, as applied to Plaintiffs,

burden substantially more speech than is necessary to further the government’s legitimate

interests.13 MTD Order at 49; see also United States v. O’Brien, 391 U.S. 367, 377 (1968);



     13
      While Plaintiffs accept the Court’s conclusion about the level of constitutional scrutiny for
purposes of this argument, Plaintiffs respectfully disagree with the Court’s conclusion that
Section 1201 does not warrant strict scrutiny (MTD Order at 39-45); and they preserve their

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Edwards v. Dist. of Columbia, 755 F.3d 996, 1001-02 (D.C. Cir. 2014) (holding the burden on

speech must be “no greater than is essential” to advance the government’s interest). While the

parties agree that the DMCA is aimed at furthering the government’s interest in preventing

piracy, the statute as interpreted by the government directly targets access to information and

publication of ideas as the means towards this objective. The Court held that Defendants failed to

show that Section 1201’s restrictions on Plaintiffs were no greater than necessary to further the

government’s interest. MTD Order at 46-50. Defendants could not carry their burden then, and

they cannot do so now.

       A.      Section 1201’s Anti-Trafficking Provision Violates the First Amendment as
               Applied to the Publication of Dr. Green’s Book

       Dr. Green wishes to publish an academic book that contains circumvention instructions,

including computer code. See Green Decl. ¶¶ 20-25. His book proposes to document the security

flaws that his research has uncovered in various computer systems, including the TPMs that

protect them, and to instruct others about how to locate and fix such flaws. Id. Dr. Green’s

publication is squarely protected by the First Amendment, as Defendants themselves conceded

and the Court has previously found. See MTD Order at 26 (citing Defendant’s Reply ISO MTD,

ECF No. 19 at 12-16); accord Bartnicki v. Vopper, 532 U.S. 514, 527 (2001) (protecting “the

acts of ‘disclosing’ and ‘publishing’ information”). Beyond that, many computer researchers,

computer vendors, and consumers want to hear Dr. Green’s speech about security flaws and

circumvention techniques. Green Decl. ¶ 16. It is “well established that the Constitution protects

the right to receive information and ideas.” Kleindienst v. Mandel, 408 U.S. 753, 762 (1972).



challenge to that holding. See infra Part I.C. For the same reasons that Section 1201 is not
narrowly tailored to serve the Government’s interest in preventing infringement, it also is not the
“least restrictive means” to achieve that interest.

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See, e.g., Virginia State Bd. of Pharmacy v. Virginia Citizens Consumer Council, Inc., 425 U.S.

748, 757 (1976) (advertising); Stanley v. Georgia, 394 U.S. 557, 564 (1969) (obscenity). The

rights of these audiences to receive information reinforce Dr. Green’s First Amendment rights to

gather and publish it.

       But Section 1201’s ban on trafficking, as interpreted by the government, bars Dr. Green

from publishing his book and threatens him with potential criminal liability. That intrusion into

Dr. Green’s First Amendment rights triggers at least intermediate scrutiny. See MTD Order at

38-45. The Government must prove that the anti-trafficking provision, as applied to Dr. Green,

does not burden substantially more speech than necessary to further the Government’s purpose

of preventing copyright infringement, MTD Order at 46-47, and that Section 1201 is “narrowly

tailored” to serve that purpose. McCullen v. Coakley, 134 S. Ct. 2518, 2534 (2014); Ward v.

Rock Against Racism, 491 U.S. 781, 791 (1989). In short, the Government must show that the

anti-trafficking rule does not target “more than the exact source of the ‘evil’” that the rule seeks

to remedy. Boardley v. U.S. Dep’t of Interior, 615 F.3d 508, 522-23 (D.C. Cir. 2010) (quoting

Frisby v. Schultz, 487 U.S. 474, 485 (1988)).

       The government cannot make that showing. Dr. Green’s research focuses on the security

of embedded software systems, such as those in toll-collection systems and industrial-grade

encryption modules, as well as secure messaging systems and other technologies where TPMs

exist primarily to protect the privacy of users rather than to prevent copyright infringement.

Green Decl. ¶ 24. His explanations on how to bypass TPMs on these types of systems do not

have generalized application to other TPMs applied to other copyrighted works and are unlikely

to enable copyright infringement. Id. ¶ 24.




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        Indeed, the Government’s interest in preventing online infringement offers little if any

basis for preventing the publication of Dr. Green’s book. There is no online market for many of

the subjects of his research, such as software embedded in toll-collection systems and other kinds

of hardware, because the software cannot fulfill its intended purpose without the physical

hardware that it operates, and that hardware obviously cannot be downloaded by a would-be

infringer. Id. ¶ 24; see also MTD Order at 48-49 (holding that the government failed to refute

Plaintiffs’ showing that “the risk of digital piracy” created by Dr. Green’s intended publication

“is minimal”).

        Nonetheless, Section 1201’s blunt anti-trafficking ban prohibits Dr. Green from

publishing a book on his research and forecloses valuable and non-infringing academic uses of

his work by other computer scientists, scholars, and engineers. Green Decl. ¶¶ 22-24. As applied

to Dr. Green, the anti-trafficking provision amounts to an impermissibly “[b]road prophylactic

rule[]” (Edenfield v. Fane, 507 U.S. 761, 777 (1993)) that lacks anything like “a close fit

between ends and means” (McCullen, 134 S. Ct. at 2534).14

        Because the provision targets far “more than the exact source of the ‘evil’ [it] seek[s] to

remedy” (Boardley, 615 F.3d at 522-23 (quoting Frisby, 487 U.S. at 485) (emphasis added)), as

this Court has already held (MTD Order at 49), it fails the narrow tailoring requirement in this

case. Dr. Green is therefore likely to succeed on the claim that Section 1201 violates his First

Amendment rights.




   14
        Underscoring this problem, the Register of Copyrights is not permitted to grant
exemptions from the trafficking ban that would allow Dr. Green to publish his book and research
without risking criminal prosecution. See 17 U.S.C. § 1201(a)(1)(C), (D).

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       B.      Section 1201 Violates the First Amendment as Applied to Dr. Huang and
               Alphamax’s Creation and Commercialization of NeTVCR

       The same is true of Dr. Huang and Alphamax. In light of the Court’s Order permitting

their as-applied First Amendment claim to go forward, Dr. Huang and Alphamax are likely to

succeed in showing that both the anti-circumvention and the anti-trafficking provisions of

Section 1201 fail intermediate scrutiny as applied to their development and sale of NeTVCR.

MTD Order at 46-51. Those provisions foreclose all of Dr. Huang and Alphamax’s vital

research, development, and commercialization of tools for expression through visual media—

while only trivially serving the government’s interest in preventing online piracy.

               1.      Section 1201’s Anti-Circumvention Provision Prohibits the Development
                       of NeTVCR Without Serving the Government’s Interests

       Dr. Huang and Alphamax wish to provide and take advantage of new opportunities to

analyze videos and create new, video-based expression, by enabling themselves and others to

access videos they lawfully possess. Compl. ¶¶ 78-82, 93, 98-106; Huang Decl. ¶¶ 20-25. To do

so, they must circumvent HDCP, a TPM, in order to gather information about how to create a

workable version of the NeTVCR, id. ¶¶ 18, 24, and to conduct related research on video

manipulation, object recognition, and deep learning, as well as to create expression to help Dr.

Huang and others learn new languages and learn how to express themselves using NeTVCR.

Huang Decl. ¶¶13, 17-24. Once this is achieved, Dr. Huang and Alphamax seek to publish the

NeTVCR software—which essentially consists of instructions that describe the math needed to

decrypt HDCP—to be read, understood, commented on, and enacted by the many others who are

interested in learning what they have to say. Id. ¶ 16.

       As this Court has already held (MTD Order at 28), the First Amendment protects all

aspects of Dr. Huang’s development and research. The Supreme Court has recognized that the


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ability to gather information is a “necessary predicate” to the subsequent exercise of “rights of

speech, press, and political freedom.” Bd. of Educ. v. Pico, 457 U.S. 853, 867 (1982) (plurality).

The creation and use of a device and underlying computer program is protected by the First

Amendment, no less than the creation and performance of a musical work, a film, or scientific

experiment. Universal City Studios, Inc. v. Corley, 273 F.3d 429, 446-50 (2d. Cir. 2001). It is

well established that the First Amendment protection for speech includes protection for the tools

that enable speech, like the NeTVCR. See, e.g., Minn. Star & Tribune Co. v. Minn. Comm’r of

Revenue, 460 U.S. 575 (1983) (striking down a tax on ink used to publish newspapers); First

Nat’l Bank of Bos. v. Bellotti, 435 U.S. 765, 795 (1978) (striking down a limit on contributing

money to a political campaign). This Court has explained how these principles apply here:

       The course of conduct that plaintiffs intend to undertake—principally, using
       computer code to circumvent TPMs to access copyrighted materials and sharing
       that code with others, whether through books, articles, or otherwise, arguably
       implicates each of these various First Amendment rights, as the DMCA’s
       prohibition on circumvention and trafficking appears to burden the accessing,
       sharing, publishing, and receiving of information, with “information” understood
       as both the code that does the circumventing and the TPM-protected material to
       which the circumventing code enables access.
MTD Order at 28 (citation omitted).

       Yet Dr. Huang and Alphamax are prevented by Section 1201’s anti-circumvention

prohibition from engaging in this protected speech. That prohibition fails the requirement of

narrow tailoring as applied to Plaintiffs’ s development of NeTVCR and related HDCP

circumvention research and expression. MTD Order 48-49. With respect to NeTVCR, Dr. Huang

wishes to circumvent TPMs on videos that he possesses lawfully. Huang Decl. ¶ 17. He wishes

to circumvent HDCP in order to develop a new technology that he (and others) will use to create

fair use content. Id. ¶¶ 12-25. Dr. Huang’s circumvention work does not involve any

infringement of copyright. 17 U.S.C. § 107 (“the fair use of a copyrighted work … is not an

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infringement of copyright”); accord Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569, 579

(1994) (“the goal of copyright, to promote science and the arts, is generally furthered by the

creation of transformative works”). The Government cannot point to any way in which its

interest in preventing infringement will be served by restricting Dr. Huang and Alphamax from

engaging in private, singular, and otherwise entirely lawful acts of circumvention in order to

create NeTVCR. Likewise, Dr. Huang’s circumvention of HDCP for research purposes is clearly

noninfringing and poses no credible threat to copyright holders. NeTVCR would indisputably

have a wide range of noninfringing uses, which traditionally would mean that Dr. Huang and

Alphamax would not be considered secondarily liable if third parties outside of their control

decided to use their product in an infringing way. See, e.g., Sony Corp. of Am. v. Universal City

Studios, Inc., 464 U.S. 417 (1984).

       Section 1201 primarily deters First Amendment-protected activities while adding little to

the government’s ability to pursue copyright infringers. Infringers have ready access to the

HDCP master key and the ability to circumvent, and copyright law already provides stiff

penalties for infringers. Law-abiding actors like Plaintiffs, however, who conscientiously avoid

infringement but need to circumvent access controls for lawful uses, are the ones who bear the

brunt of Section 1201’s deterrence.

       Thus, Section 1201’s anti-circumvention provision stands to snuff out the development of

a valuable consumer technology that enables new forms of expression and to stifle video-related

research, while doing little to serve the Government’s interest in preventing copyright

infringement. The statute fails intermediate scrutiny.




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                 2.      The Triennial Rulemaking Process Demonstrates that Section 1201’s
                         Anti-Circumvention Provision Violates Dr. Huang and Alphamax’s
                         First Amendment Rights

        The Government cannot save Section 1201 by pointing to the triennial rulemaking

process. The Librarian rejected Dr. Huang’s petition for an exemption to develop NeTVCR and

to conduct research by circumventing HDCP in 2018. Huang Decl. ¶¶ 26-28. In doing so, the

Acting Register acknowledged that Dr. Huang proposed use cases for his requested exemption

that “may potentially be fair uses.” 2018 Final Rule at 54,027. Indeed, the scope of the requested

exemption, by definition, only included noninfringing uses. By acknowledging the lawful

conduct that would be enabled by his requested exemption, yet denying the exemption, the

Registrar ensured that the threat of prosecution under Section 1201 would continue to chill Dr.

Huang from engaging in lawful and constitutionally protected activity. The Registrar’s ruling

thus only underscores that Section 1201 is burdening more speech than necessary to deter

copyright infringement.

        The Acting Register justified its decision in part on the basis that Dr. Huang’s was a case

of “de minimis impact.” 2018 Final Rule at 54,027. In fact, the threat of prosecution under

Section 1201 is actively impeding the First Amendment rights not just of Dr. Huang and

Alphamax, but of all the people they hope to teach and to serve with a commercially available

NeTVCR. Huang Decl. ¶ 25. As noted above, more than 200 supporters and potential customers

have invested more than $87,000 to help Dr. Huang bring a less capable device that does not

circumvent, NeTV2, to market so that they can make noninfringing uses of videos to create

forms of expression. These supporters would prefer a more effective device and inhibiting access

to it is far from a trivial injury.




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       But even if Section 1201’s prohibition on circumvention had only a limited impact on Dr.

Huang, that would not save it here. See, e.g., United States v. Playboy Entm’t Grp., 529 U.S.

803, 826 (2000) (“We cannot be influenced, moreover, by the perception that the regulation in

question is not a major one because the speech is not very important”); accord Higher Soc’y of

Ind. v. Tippecanoe Cty., 858 F.3d 1113, 1116 (7th Cir. 2017) (“[E]ven short deprivations of First

Amendment rights constitute irreparable harm.”). To the contrary, the Acting Register’s

justification only compounds the injury by purporting to justify depriving Dr. Huang of his First

Amendment rights because a government official mistakenly believes that those rights are

unimportant.

           3. Section 1201’s Anti-Trafficking Provision Prohibits the Commercialization of
              NeTVCR Without Serving the Government’s Interests

       Dr. Huang and Alphamax’s activities also implicate Section 1201’s trafficking

prohibition. Dr. Huang wishes to sell NeTVCR as a standalone product and to distribute software

instructions for circumvention as an upgrade to the NeTV2 that would transform it into a

NeTVCR. Compl. ¶¶ 88-90, 110, 112-113; Huang Decl. ¶ 16. And he wishes to share his general

HDCP-circumvention research on video manipulation, object recognition, and deep learning with

others. Huang Decl. ¶ 23. These activities embody both Plaintiffs’ right to publish information

and members of the public’s right to obtain it—core First Amendment-protected activities. See

MTD Order at 28. Moreover, Plaintiffs’ work will help members of the public to use the

NeTVCR to engage in new acts of creativity, analysis, and cultural expression, which would not

otherwise be possible. Compl. ¶¶ 75, 110, 112, 113; Huang Decl. ¶¶ 12-25.

       All of these activities, however, are foreclosed by the anti-trafficking provision—even

though there is no question that they are protected by the First Amendment. See MTD Order at



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28 (“The course of conduct that plaintiffs intend to undertake—principally, using computer code

to circumvent TPMs to access copyrighted materials and sharing that code with others, whether

through books, articles, or otherwise—arguably implicates each of these various First

Amendment rights.”). Applied in this way, Section 1201 burdens substantially more speech than

is necessary to further the Government’s anti-infringement interests. As for the sale and

dissemination of NeTVCR, the product is aimed at consumers who already have lawful access to

HDCP-protected digital videos and who will use the device to circumvent HDCP on those videos

in order to create new fair use content and expression. Indeed, the NeTVCR is not necessary to

would-be infringers, who can already use the publicly-available HDCP master key to engage in

unlawful infringement. Huang Decl. ¶ 5. At any rate, actual copyright infringers can still be

punished for violations of the copyright law, 17 U.S.C. § 501, and it is both unnecessary and

unwarranted to prohibit Plaintiffs’ speech activities in order to stop hypothetical third parties

from potentially infringing.

        In short, Plaintiffs’ intention to distribute NeTVCR and to share video-related research

will have no meaningful impact on piracy. Therefore, the Government will not be able to meet its

burden of establishing that the anti-trafficking provision, as applied to Dr. Huang and Alphamax,

is narrowly tailored to further its legitimate interests.

        C.      Plaintiffs Are Likely to Prevail on All of Their Claims

        Beyond their as-applied First Amendment challenge to Section 1201’s anti-

circumvention and anti-trafficking provisions, which the Court allowed to proceed, Plaintiffs

also brought other claims, including that Section 1201 is facially overbroad, an unconstitutional

speech-licensing regime, and that the Rulemaking Defendants violated the Administrative

Procedure Act. The Court granted the government’s motion to dismiss those claims. While those


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rulings are now law of the case, Plaintiffs through this motion seek a preliminary injunction on

the dismissed claims as well. For the reasons set forth in Plaintiffs’ Opposition to Defendants’

Motion to Dismiss, ECF No. 18 at 18-33, 36-45, Plaintiffs are likely to ultimately prevail on the

merits of those claims; those claims therefore serve as an additional basis for enjoining the

government’s enforcement of Section 1201.

II.    PLAINTIFFS WILL SUFFER IRREPARABLE INJURY WITHOUT
       PRELIMINARY RELIEF

       In addition to having demonstrated a clear likelihood of success on the merits of their

First Amendment claims, Plaintiffs face clear and irreparable harm unless a preliminary

injunction is granted. Winter, 555 U.S. at 20.

       “The loss of First Amendment freedoms, for even minimal periods of time,

unquestionably constitutes irreparable injury.” Elrod v. Burns, 427 U.S. at 373; N.Y. Times Co. v.

United States, 403 U.S. 713 (1971); Pursuing Am.’s Greatness v. FEC, 831 F.3d 500, 511 (D.C.

Cir. 2016). As a result, this prong is almost always satisfied in First Amendment cases if the

plaintiff has shown a likelihood of success on the merits. See Pursuing Am.’s Greatness, 831

F.3d at 511 (“In First Amendment cases, the likelihood of success ‘will often be the

determinative factor in the preliminary injunction analysis.’”); see also Gordon v. Holder, 721

F.3d 638, 653 (D.C. Cir. 2013) (“[S]uits for declaratory and injunctive relief against the

threatened invasion of a constitutional right do not ordinarily require proof of any injury other

than the threatened constitutional deprivation itself.” (citations omitted)).

       So it is here. The First Amendment fully applies to Dr. Huang and Alphamax’s research

and development and to all Plaintiffs’ publication and commercialization. Dr. Green’s computer

security book would advance the general state of knowledge in academic and professional fields,



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while Dr. Huang and Alphamax’s commercialization of NeTVCR would enable myriad new

avenues of First Amendment-protected expression. These activities contribute to computer

security and free speech for everyone. They touch on a matter of general public concern (the

security of our software systems and the ability of people to express themselves freely). These

research projects, including the contemplated circumvention efforts, are a necessary predicate to

that speech. And these activities are classic noninfringing uses of copyrighted works that are

protected by the fair use doctrine. See Green Decl. ¶¶ 5-18; Section I.A.1 supra.

            Yet in the absence of a preliminary injunction,15 Plaintiffs would have to wait until the

conclusion of this lawsuit to learn whether they are free to engage in the research, development,

publication, and commercialization needed to benefit the academic community, the computer

industry, and the public. That is more than enough to show irreparable injury. See, e.g., Pursuing

Am.’s Greatness, 831 F.3d at 511 (finding irreparable injury where a law would have prevented

the speaker from publishing the name of a candidate for public office).

III.        THE BALANCE OF EQUITIES FAVORS AN INJUNCTION

            Absent an injunction, Plaintiffs’ harm far outweighs any harm the Government might

suffer. Winter, 555 U.S. at 20. As explained above, Section 1201 deprives Plaintiffs of core First

Amendment rights and threatens them with criminal liability if they circumvent TPMs in the

course of conducting computer security research and development, publishing computer

instructions for circumventing encrypted video streams, or speaking about how they did so.

Without preliminary relief, Plaintiffs will continue to be deterred from publishing and

commercializing their work. See supra pp. 6-7, 11-12. Without Dr. Green’s book, computer

       15
         While a temporary exemption exists protecting much of Dr. Green’s planned
circumvention activities, the exemption does not extend to “trafficking” and therefore does not
protect his planned publications and communications about his work. See supra n.3.

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system operators and designers will be deprived of valuable information for identifying and

correcting security flaws, and for making computer systems more secure for all. Id. And without

Dr. Huang and Alphamax’s new product, innovators, educators, and corporations will be

deprived of valuable new forms of expression.

       In contrast, the Government “is in no way harmed by issuance of a preliminary injunction

which prevents the state from enforcing restrictions likely to be found unconstitutional. If

anything, the system is improved by such an injunction.” Centro Tepeyac v. Montgomery Cty.,

722 F.3d 184, 191 (4th Cir. 2013) (citation omitted); see also Pursuing Am.’s Greatness, 831

F.3d at 511 (noting that “there is always a strong public interest in the exercise of free speech

rights otherwise abridged by an unconstitutional regulation”).

       If the Court grants preliminary relief, the Government will suffer no harm in its efforts to

“promote the progress of science and the useful arts,” U.S. CONST. art. I, § 8, cl. 8. The anti-

circumvention and anti-trafficking rules restrict—instead of promote—that progress. And as

applied here, they limit other security scholars from building on Plaintiffs’ work and discovering

additional security flaws, and they limit the ability of interested members of the public from

engaging in productive noninfringing speech through the use of NeTVCR. See supra pp. 4-5.

Nor will the Government suffer harm in its effort to discourage copyright infringement. As set

forth above, circumvention and trafficking do no harm in and of themselves, nor is any showing

of harm or infringement necessary to establish liability under the anti-circumvention and anti-

trafficking rules. The Government has ample, and superior, alternative means of policing

infringement, such as imposing liability for actual copyright infringement, which would be

entirely unaffected by the preliminary injunction that Plaintiffs seek.




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       Section 1201 thus creates the worst of both worlds: it adds sharp legal teeth to

technologies that often have no teeth of their own. TPMs are frequently very easily

circumvented, Green Decl. ¶ 39, meaning that those willing to violate the law readily break

computer security or commit copyright infringement. Meanwhile, conscientious actors like

Plaintiffs are prohibited from beneficial, noninfringing speech because they care about staying

on the right side of the law.

IV.    THE PUBLIC INTEREST WOULD BE SERVED BY AN INJUNCTION

       The final Winter factor—the public interest—also favors Plaintiffs for many of the same

reasons that the third factor favors them. As the D.C. Circuit explained: “The [government’s]

harm and the public interest are one and the same, because the government’s interest is the

public interest.” Pursuing Am.’s Greatness, 831 F.3d at 511 (citing Nken v. Holder, 556 U.S.

418, 435 (2009) (holding that assessing the harm to the opposing party and weighing the public

interest “merge when the Government is the opposing party”)). Whatever the Government’s

cited interest, “there is always a strong public interest in the exercise of free speech rights

otherwise abridged by an unconstitutional regulation and, without a preliminary injunction,

[Plaintiffs are] unable to exercise those rights.” Pursuing Am.’s Greatness, 831 F.3d at 511

(citing Gordon, 721 F.3d at 653). In short, “enforcement of an unconstitutional law is always

contrary to the public interest.” Gordon, 721 F.3d at 653.

       That is especially true in this case. The Government cannot meaningfully rely on an

asserted public interest in upholding copyright protections or promoting the progress of science

because, as explained, Section 1201 is not narrowly tailored to those interests, and the

Government has alternative methods to achieve its goals. See supra p. 31. Also, criminal liability

under Section 1201 does not depend on any showing of copyright infringement. 17 U.S.C. §§


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1201, 1204. In any event, any government interests here are outweighed by the public interest in

the Government not violating First Amendment freedoms, “among the most precious rights

guaranteed under the Constitution.” Tyndale House Publishers, Inc. v. Sebelius, 904 F. Supp. 2d

106, 130 (D.D.C. 2012) (citing Lee v. Weisman, 505 U.S. 577, 589 (1992)); see also Minney v.

United States OPM, 130 F. Supp. 3d 225, 236 (D.D.C. 2015) (“Applying the law in a way that

violates the Constitution is never in the public’s interest.”).

        In addition, the Supreme Court has recognized that the suppression of speech “harms not

only the speaker, but also the public to whom the speech would be directed.” Sindicato

Puertorriqueno de Trabajadores v. Fortuno, 699 F.3d 1, 15 (1st Cir. 2012) (citing Citizens

United v. Fed. Election Comm’n, 558 U.S. 310, 340 (2010)). Given the increasing pervasiveness

of technological devices, and the increasing frequency of security breaches, members of the

public have a strong interest in protecting their sensitive personal information. They also have a

strong interest in new ways of engaging in protected speech. Dr. Green, Dr. Huang, and

Alphamax’s work is devoted to advancing these interests, and chilling their ability to conduct

that work contributes to public vulnerability to destructive computer security flaws and prevents

beneficial new fair uses of high definition video streams. In contrast, an injunction would permit

Plaintiffs to conduct security research while this case proceeds, and to publish the results

(including methodology), which would in turn enable the design of more secure computer

systems and the correction of existing security vulnerabilities for the public good.

                                          CONCLUSION

        For these reasons, Dr. Green, Dr. Huang, and Alphamax respectfully request that this

Court enter a preliminary injunction preventing the Government, during the pendency of this

case, from prosecuting them under Section 1201. In the alternative, Plaintiffs ask the Court to


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narrowly construe the operative provisions of the statute such that they do not apply to prohibit

Plaintiffs from engaging in the lawful and valuable conduct discussed above.



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                                                       Respectfully submitted by:


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